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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

GARY DON TRIPP,                           )
                                          )
       Petitioner,                        )
                                          )
v.                                        )        Case No. CIV-20-965-SLP
                                          )
FNU WHITTEN,                              )
                                          )
       Respondent.                        )

                                        ORDER

       This matter is before the Court on the Report and Recommendation of United States

Magistrate Judge Gary M. Purcell entered September 30, 2020 [Doc. No. 6]. Judge

Purcell recommended that Petitioner’s Motion for Leave to Proceed In Forma Pauperis be

denied and that this action be dismissed without prejudice unless Petitioner pays the filing

fee in the amount of $5.00. The Court Docket reflects that Petitioner paid the filing fee

on October 16, 2020. Therefore, the Report and Recommendation is adopted in its

entirety. The Motion for Leave to Proceed In Forma Pauperis is denied and this matter is

re-referred to United States Magistrate Judge Gary M. Purcell in accordance with the

original referral entered on September 24, 2020.

       IT IS SO ORDERED this 16th day of October, 2020.




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